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c12)   United States Patent                                                     (IO)   Patent No.:                 US 8,952,405 B2
       Margalit                                                                 (45)   Date of Patent:                     *Feb.10,2015

(54)   LIGHT EMITTING DIODE PACKAGE AND                                             USPC ........ 257/88, 98, 99, 100, 676, 778; 438/458,
       METHOD OF MANUFACTURE                                                                        438/455, 492, 22, 123, 27, 28, 26, 29;
                                                                                                                             362/311, 351
(76)   Inventor:     Mordehai Margalit, Zichron Yaaqov                              See application file for complete search history.
                     (IL)
                                                                             (56)                   References Cited
( *)   Notice:       Subject to any disclaimer, the term ofthis
                     patent is extended or adjusted under 35                                  U.S. PATENT DOCUMENTS
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(60)   Provisional application No. 61/449,685, filed on Mar.                 Primary Examiner - Mary Wilczewski
       6, 2011, provisional application No. 61/449,686, filed
                                                                             Assistant Examiner - Erik T Peterson
       on Mar. 6, 2011.
                                                                             (74) Attorney, Agent, or Firm - Instrinsic Law Corp.;
(51)   Int. Cl.                                                              Ibrahim M. Hallaj
       H0JL33/00                        (2010.01)                            (57)                        ABSTRACT
       H0JL21/00                        (2006.01)
       H0JL33/52                        (2010.01)                            A light emitting diode (LED) device and packaging for same
       H0JL33/58                        (2010.01)                            is disclosed. In some aspects, the LED is manufactured using
       H0JL 33/50                       (2010.01)                            a vertical configuration including a plurality oflayers. Certain
       H0JL 33/60                       (2010.01)                            layers act to promote mechanical, electrical, thermal, or opti-
                                                                             cal characteristics of the device. The device avoids design
(52)   U.S. Cl.
                                                                             problems, including manufacturing complexities, costs and
       CPC ................ H0JL 33152 (2013.01); H0JL 33/58
                                                                             heat dissipation problems found in conventional LED
              (2013.01); H0JL 33/50 (2013.01); H0JL 33/60
                                                                             devices. Some embodiments include a plurality of optically
                            (2013.01); H0JL 2933/005 (2013.01)
                                                                             permissive layers, including an optically permissive cover
       USPC ........ 257/98; 257/99; 257/100; 257/E33.067;
                                                                             substrate or wafer stacked over a semiconductor LED and
                                         257/E33.068; 438/27; 438/29
                                                                             positioned using one or more alignment markers.
(58)   Field of Classification Search
       CPC ............................................. H01L 2924/12041                      17 Claims, 12 Drawing Sheets




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                                  Flg. ·1
                                (Prior Art)
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                            ___________                       .,,..__20_0_·

                                  GaN layers




                                                      210




                                    Fig, 2
                                  (PrlorArt)
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                                                              Sapphire




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                                                              Fig,3
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                                    Fig, 4
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                                  LED




                            520
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                                                     760

                                                            750

                                     LENS

    740
                                  Cover substrate                        740



                                    Adhesive layer                       730


           Stand                  Phospor/QD
                                                           Stand off
            off
   737

                                   Sapphire
                                                                   710


          735                         LED                              700



                            720




                      702




                                     Fig. 7
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                                 LED


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                                   Fig, 10
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                 LENS




               LED




                                   Fig, 12
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                                                      US 8,952,405 B2
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     LIGHT EMITTING DIODE PACKAGE AND                                                            SUMMARY
         METHOD OF MANUFACTURE
                                                                           A light emitting diode (LED) device and packaging for
                RELATED APPLICATIONS                                    same is disclosed. In some aspects, the LED is manufactured
                                                                   5    by epitaxial growth or other chemical or physical deposition
   This application is related to and claims the benefit and            techniques of a plurality of layers. Certain layers act to pro-
priority of U.S. Provisional Application Nos. 61/449 ,685 and           mote mechanical, electrical, thermal, or optical characteris-
61/449,686, both filed on Mar. 6, 2011, which are hereby                tics of the device. The device avoids design problems, includ-
incorporated by reference.                                              ing manufacturing complexities, costs and heat dissipation
                                                                   10   problems found in conventional LED devices. Some embodi-
                    TECHNICAL FIELD                                     ments include a plurality of optically permissive layers,
                                                                        including an optically permissive cover substrate or wafer
   The present application is directed to a light emitting diode        stacked over a semiconductor LED and positioned using one
(LED) device implemented on a wafer cover layer and pro-                or more alignment markers.
                                                                   15      Some embodiments are directed to a light emitting device,
vided with features permitting efficient and repeatable manu-
                                                                        comprising a semiconductor LED including doped and intrin-
facture of the same.
                                                                        sic regions thereof; a first surface of said semiconductor LED
                                                                        being metallized with an electrically conducting metalliza-
                      BACKGROUND
                                                                        tion layer over at least a portion of said first surface; an
                                                                   20   optically permissive layer proximal to a second surface of
   A light emitting diode (LED) is a semiconductor device
                                                                        said semiconductor LED, said first and second surfaces of
that is configured to receive electrical power or stimulation           said semiconductor LED being on opposing faces thereof; an
and to output electromagnetic radiation, commonly in the                optically definable material proximal to or within said opti-
visible range of the spectrum (light). Portions of a LED com-           cally permissive layer that affects an optical characteristic of
prise doped semiconductor materials that operate to combine        25   emitted light passing there through; and an optically permis-
charge in a way that releases said light energy from the body           sive cover substrate covering at least a portion of the above
of the LED material. This effect is sometimes referred to as            components.
electroluminescence. The output energy or light is deter-                  Other embodiments are directed to ways of making such a
mined by the materials and operating conditions of the LED,             light emitting device or a group of devices on a wafer in a
including the energy band gap of the LED material and the          30   manufacturing context. Specifically, embodiments are
electrical biasing of the LED.                                          directed to a method for making a light emitting device, the
   Light emitting diodes (LEDs) compare favorably to other              method comprising forming a plurality of doped layers in a
sources of light and are especially useful in certain applica-          light emitting device (LED) disposed on an optically permis-
tions and markets. For example, LED lighting generally pro-             sive layer; forming a recess in said LED so as to allow elec-
vides advantages with respect to energy efficiency, compact        35   trical contact with a first doped layer of said LED at a depth of
and rugged and long-lasting design and form factor, and other           said first doped layer in said LED; metallizing at least a
features. LED lighting compares favorably with other sources            portion of a face of said LED so as to form a metallization
in the amount oflight energy generated in the visible electro-          layer provide electrical contact with said first doped layer and
magnetic spectrum compared to the infra-red or heat energy              a second doped layer of said LED proximal to said face
wasted by the light source. In addition, LED lights include        40   thereof; and using an optically permissive adhesive to
fewer environmentally damaging components when com-                     mechanically secure said optically permissive layer to an
pared to other light forms, and therefore provide better com-           optically permissive cover substrate.
pliance with restrictions on hazardous substances (RohS)
regulations.                                                                   BRIEF DESCRIPTION OF THE DRAWINGS
   That said, conventional LED devices can be relatively           45
costly to manufacture by some metrics when compared to                     For a fuller understanding of the nature and advantages of
other light sources. One reason for this is the exacting pack-          the present concepts, reference is made to the following
aging requirements for manufacturing LEDs. LED packaging                detailed description of preferred embodiments and in connec-
calls for proper clean conditions, micro-fabrication facilities         tion with the accompanying drawings, in which:
similar to other semiconductor manufacturing operations,           50      FIG. 1 illustrates a semiconducting LED layer above a
sealing requirements, optical requirements, the use of phos-            sapphire layer according to the prior art;
phor in LED applications, as well as packaging that is                     FIG. 2 illustrates a semiconducting LED layer with a cavity
designed to handle the conduction of heat generated in the              etched in a portion thereof on a sapphire layer according to the
devices.                                                                prior art;
   Conventional LED packaging includes silicon (Si) or             55      FIG. 3 illustrates metallization of a LED device according
Ceramic based carrier substrates. The LEDs can be mounted               to some aspects;
on the carrier, or alternatively the many LEDs can be mounted              FIG. 4 illustrates a top view of an exemplary LED device;
on a wafer of the carrier and the LEDs are singulated at the               FIG. 5 illustrates a cross sectional view of another exem-
end of the packaging process. The wafer based approach is               plary LED device;
termed wafer level assembly packaging (WLP). However,              60      FIG. 6 illustrates an LED device 60 in a top view thereof;
these conventional techniques require the use of a carrier                 FIG. 7 illustrates another exemplary cross sectional view of
substrate to support the LED, which can double the cost of              a LED device;
making and packaging the LED device. In addition, the car-                 FIG. 8 illustrates an exemplary LED device comprising a
rier substrate greatly increases the thermal resistivity of the         passivation layer;
device and adversely affects its heat removal characteristics.     65      FIG. 9 illustrates an exemplary LED device having a
   Accordingly, there is a need for LED devices that do not             shaped an optionally mirrored or metallized passivation
suffer from some or all of the above problems.                          layer;
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  FIG. 10 illustrates another exemplary LED device;                      sapphire layer 310. In an embodiment, the GaN layer 300
  FIG. 11 illustrates yet another embodiment of a LED                    comprises a P-I-N junction having strata therein including a
device; and                                                              P-type doped layer 301 that is proximal to the bulk surface of
  FIG. 12 illustrates how more than one LED device can be                the GaN layer 300 and distal from the sapphire layer 310, a
manufactured on a single manufacturing platform or wafer.           5    N-type doped layer 303 within GaN layer 300 that is proximal
                                                                         to the sapphire layer 310, and an intrinsic (I) semiconductor
                DETAILED DESCRIPTION                                     layer 305 in the middle, between the P and N type layers 301
                                                                         and 303. In operation, electrical biasing of the P-type layer
    Modem LED devices are based on semiconducting mate-                  301 against the N-type layer 303 causes photon emission
rials and their properties. For example, some LEDs are made         10   from intrinsic layer 305.
using gallium nitride (GaN) which is a type ofbandgap semi-                 As mentioned before, a recess 302 is etched into a portion
conductor suited for use in high power LEDs. GaN LEDs are                of the surface ofGaN layer 300. The depth ofrecess 302 may
typically epitaxially grown on a sapphire substrate. These               be shallow or deep, and is commensurate with the thickness of
LEDs comprise a P-I-N junction device having an intrinsic (I)            the GaN layer 300 and the P-I-N strata therein.
layer disposed between a N-type doped layer and a P-type            15      Furthermore, a metallization layer 320 is applied to at least
doped layer. The device is driven using suitable electrical              a portion of the surface of the GaN layer 300. The metalliza-
driving signals by way of electrodes or contacts coupled to the          tion layer 320 can extend to cover both the bulk surface of the
N and the P type portions of the LED. Electronic activity                GaN layer 300 as well as areas that became exposed in recess
causes the emission of visible electromagnetic radiation                 302 after it was etched into the bulk of the GaN layer 300.
(light) from the intrinsic portion of the device according to the   20      In an embodiment, the recess 302 is created sufficiently
electromotive force applied thereto and configuration of the             deep so as to allow contact between an electrical connection
device.                                                                  and the N-type layer 303 to drive the LED. In this way, a set
    The embodiments described and illustrated herein are not             of contacts can be applied to the N-type layer 303 and the
meant by way of limitation, and are rather exemplary of the              P-type layer 301 to drive or excite the LED device 30. Current
kinds of features and techniques that those skilled in the art      25   can thus generally flow from a conducting electrode coupled
might benefit from in implementing a wide variety of useful              to the N-type layer 303 to another conducting electrode
products and processes. For example, in addition to the appli-           coupled to the P-type layer 301. The metal can be Al, Au, Ag,
cations described in the embodiments below, those skilled in             Cu or other conducting material. It should be noted that state
the art would appreciate that the present disclosure can be              of art method of electrode formation includes depositing a
applied to making and packaging power integrated circuit            30   SiO2 or other electrically insulating and optically transparent
(IC) components, radio frequency (RF) components, micro                  layer on top of the P and exposed N layers. This layer is then
electro-mechanical systems (MEMS), or other discrete com-                exposed using lithography and chemical etching to reveal the
ponents.                                                                 layers in specific locations which become the contact pads.
    FIG. 1 illustrates a LED device 10 such as those described           The metal is then deposited on top the insulating layer and
above, having a GaN layer 100, commonly referred to as the          35   electrical contact is facilitated in the exposed portions. Other
LED, disposed on a sapphire layer 110. The device of FIG. 1              state of art techniques include selective doping of contact
is usually processed using some semiconductor micro fabri-               areas to reduce electrical resistivity. In an embodiment the top
cation techniques. In some examples, portions of the LED                 metal layer extends over the contact openings in the insulat-
(GaN layer) are etched away or removed using techniques                  ing layer to cover substantially all the unetched parts of the
known to those skilled in the art. Other applications of con-       40   LED as shown in FIGS. 3 and 4. In another embodiment, the
ducting and non-conducting layers are applied to such a base             metal is designed to have contact pads, areas where the metal
design, along with channels and vias for various functionality           has a substantially continuous area greater than lOOxlOO
as will be described below.                                              microns. The extended metal covering provides a mirror for
    FIG. 2 illustrates a LED device 20 like the one shown in             reflecting the light towards the Sapphire. The metal layer for
FIG. 1 where a GaN layer 200 is disposed above a sapphire           45   providing the mirror is preferably Al, or Ag. The metal con-
layer 210. A recess or groove or channel 202 is etched into a            tact can have a plurality of metal constituents each with a
portion of the GaN layer 200.                                            specific purpose, e.g. light reflection, adhesion to the GaN
    It should be appreciated that GaN type LEDs are not the              layers or matching the work function of the GaN layers. In
only kind of LED materials that can be employed in the                   another embodiment, the metal cover can be composed of two
present discussion, but that the present description is merely      50   or more, electrically isolated parts. One part( s) is electrically
illustrative so that those skilled in the art can appreciate some        connected to the P layer and provides electrical contact as
preferred embodiments and methods for making and design-                 well as thermal contact, and the other part(s) provide optical
ing the present LEDs. Similarly, in the following preferred              reflection and thermal connection.
and exemplary illustrations, it is to be understood that many               FIG. 4 illustrates a top view of an exemplary LED device
other similar and equivalent embodiments will be apparent to        55   40. The cross sectional line 420 is substantially correspond-
those skilled in the art and which accomplish substantially the          ing to the side view shown in FIG. 3. The drawing shows an
same result. This is true as to variations in the geometry,              example of features arranged on a face 400 of the device
layout, configurations, dimensions, and choice of materials              configured to have a convoluted or fingered or patterned lay-
and other aspects described in the present examples. Specifi-            out 410. A bottom metal pad area defines an alignment toler-
cally, certain described elements and steps can be omitted, or      60   ance in the assembly of the LED and creation of the electrical
others can be substituted or added to that which is described            contacts. Hence in one embodiment it is taught to increase the
herein for the sake of illustration without materially affecting         pad size to 150x150 microns to relax the required tolerances.
the scope of the present disclosure and inventions.                      The thickness of the metal can be 0.5-5 microns, but this
    FIG. 3 illustrates the result of metallization of the surface        example is not given by way of limitation.
of the GaN layer 300 of the device of FIG. 2 using a step of        65      FIG. 5 illustrates a cross sectional view of an exemplary
applying a suitable metallic layer 320 to portions of LED                LED device 50. The device 50 includes the stated LED semi-
device 30. Here, as before, a GaN layer 300 is disposed on a             conducting layer or layers 500 as discussed above, along with
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etched recess 502 and metallization areas 520. The LED (e.g.,           FIG. 7 illustrates another exemplary cross sectional view of
GaN) layer 500 is disposed on a sapphire layer 510 as before.        a LED device 70. Standoff structures 737, made of a suitable
    Here, an optically transparent or transmissive adhesive          mechanically supportive material are created on the carrier
layer 530 is placed against the opposing side of the sapphire        wafer. The standoff structures 737 can comprise a thermo-
layer 510 than the LED material 500 (meaning, one face of the s plastic material and created by embossing or injection mold-
sapphire layer 510 is proximal to the LED material layer 500         ing, or the structures can be made by applying a layer of photo
and the other opposing face of sapphire layer 510 is proximal        definable material such as polyamide or solder mask and
to the transparent adhesive layer 530. The transparent adhe-         exposing the material to light using a suitable mask. The
sive layer 530 may be composed of silicone or some other             standoff structures 737 can be used to encase the QD or
                                                                  10 phosphor material 735, or alternatively to provide a cavity for
suitable adhesive, which may also be photo definable material
                                                                     the material deposition. The other elements of LED device 70
that can provide adhesion or epoxy quality to bond or
                                                                     are similar to similarly numbered elements described above.
mechanically couple elements of LED device 50. In an addi-
                                                                        FIG. 8 illustrates a LED device 80 similar to those
tional embodiment, the adhesive is index matched to the              described above. Here, a passivation layer 870 has been
Sapphire to reduce optical reflections at the interface.          15 applied to surround certain portions of the device around LED
    Within, or contiguous to transparent adhesive layer 530 is       semiconducting layer 800, metallization layer 820, and sap-
a region containing phosphor and/or quantum dot material             phire layer 810. The passivation layer 870 can comprise a non
(QD) 535. In operation, photons emitted from LED layer 500           conductive layer and can be composed of SiO2, SiN, AlN,
travel through said sapphire layer 510 and pass through the          Al2O3 or an organic material such as epoxy, or electro-
optically transparent layer 530 and the region containing the 20 phoretic deposited paint as used in the car industry, or spray
phosphor and/or quantum dots 535. This causes color (wave-           coated. In one embodiment, the passivation layer 870 has a
length) control and emission of selective desired light out of       thickness that ranges from 1 to 40 microns, depending on the
the LED device as further described herein.                          material and required electrical passivation level. In an
    One, two or more alignment marks 540 are provided on or          embodiment, the passivation layer 870 covers in a conformal
in the transparent adhesive layer 530 and are used to align the 25 manner the space between LEDs during manufacture. In
LED body over a cover substrate 550 sheet and generally in an        another embodiment the spacing between the LEDs is not
extended wafer structure during manufacture. The cover sub-          covered, or alternatively is revealed in a mechanical process
strate 550 provide structural presence and mechanical cou-           such as dicing. The other elements of LED device 80 are
pling for elements of the LED device 50. The cover substrate         similar to similarly numbered elements described above. In
550 is also transparent or optically transmissive to light in the 30 an additional embodiment the passivation layer can be
wavelength emitted by LED layer 500 or by the combination            designed to be reflective by incorporating appropriate mate-
of the LED layer 500 and the phosphor material.                      rial particles within such as ZnO.
    In some embodiments, an optical lens 560 may be placed              FIG. 9 illustrates an exemplary LED device 90 having a
on the cover substrate 550 substantially above the body of the       shaped an optionally mirrored or metallized passivation layer
LED emitting portions of the device 50. The lens 560 can act 35 970 to enhance the performance of the device. The passiva-
to spread, diffuse, collimate, or otherwise redirect and form        tion at the diode side can be patterned in a manner to provide
the output of the LED.                                               for example optical reflectivity by angling or shaping the
    The system may be coupled to other optical elements as           edges 975 of passivation layer 970. The patterning of passi-
would be appreciated by those skilled in the art. One or more        vation layer 970 can be done using a mechanical dicing sys-
optical lens or assembly of optical lenses, Fresnel layers, 40 tern with special blade or via chemical etching. In one
filters, polarizing elements, or other members can be used to        embodiment a thermally conductive layer such as SiN or AlN
further affect the quality of the light provided by the LED          is preferred to minimize the thermal conductance of the LED
device.                                                              device package. The other elements of LED device 90 are
    FIG. 6 illustrates an LED device 60 in a top view thereof.       similar to similarly numbered elements described above.
The device includes substantially the elements described 45             FIG. 10 illustrates another exemplary LED device 1001.
above with regard to FIG. 5, including an LED emitting body          Similarly numbered elements discussed earlier are common
600 and positioning or alignment markers 640, lens 660,              to or similar to those in this exemplary embodiment. Here,
arranged on a patterned cover substrate 610. In an embodi-           contact holes are drilled, in one embodiment by use of a laser,
ment, the LED is positioned with respect to said alignment           through the passivation layer until reaching the metal pad and
marks. Between adjacent LEDs on a wafer there is a space of, so silicon substrate. If SiN or SiO2 are used, a plasma etch can
e.g., 50-1000 microns for subsequent processing and dicing           also be used to create the contact holes. If a laser is used, the
of the LEDs.                                                         laser can either stop at the metal pad (blind via) or cut through
    The LEDs are individually assembled on a carrier wafer,          the pad and the electrical connection would then be done
with the sapphire layer facing the carrier wafer layer. The          using the pad thickness. If the passivation layer is photo
carrier wafer layer is of optically transparent material such as 55 definable, than a lithography step can expose the pads. In
glass or plastic as described above. The cover can include           another embodiment the organic passivation layer is etched
other optical components such as lenses or light diffusing           using a hard mask made of inorganic material such as a thin
structures or light guiding structures. As mentioned, the phos-      metal or insulating layer and then using plasma etch to
phor or quantum dot layers enable the conversion of the light        remove the organic material.
generated by the LED to other colors. The most common is 60             It is noted that passivation layer 1075 is cut or etched away
the use of phosphor to enable White light from a blue LED. In        as stated above so as to provide conducting access at least to
one embodiment the lens shape is created by the surface              the N-type semiconductor proximal to laser drilled recess
tension of a drop of polymer or silicone material. In another        1002 and the P-type semiconductor proximal to portion 107 4
embodiment the lens is created by hot embossing of a poly-           of metallization layer 1020. The passivation layer is also
mer which is applied to one side of the carrier wafer. The 65 removed to enhance the heat conduction of the LED. Hence to
carrier wafer may be further patterned to create specific drop       optimize the heat conductance, a maximal contact should be
shapes, sizes and desired surface qualities.                         made between the metal and metal pads on the LED and the
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metal layer. This is done by opening the largest possible area            apparent to those skilled in the art to which the present inven-
on the passivation layer and preferably greater than 80%. If              tion is directed upon review of the present disclosure. The
the LED is designed with a thermal pad structure then the P               claims are intended to cover such modifications.
connection can be connected to thermal and P pad or alterna-
tively three metal connections are facilitated, N, P and ther-       5
                                                                             What is claimed is:
ma!. In another embodiment, the passivation is also removed                  1. A light emitting device, comprising:
in areas where there is no metal layer, only the electrically
                                                                             a semiconductor LED including a positively-doped region,
insulating layer. This can occur, if instead of the LED
                                                                                an intrinsic region, and a negatively-doped region,
described previously, a standard LED is used in which the
                                                                                wherein said intrinsic region is between said positively-
metal covers only a small portion of the top of the LED. In this     10
case the metal layer deposited in this stage will provide the                   doped region and said negatively-doped region, said
heat removal and light reflection. In this manner, the exposed                  semiconductor LED defining a first recess to expose a
portions of the LED will extend beyond the metal areas. The                     negatively-doped surface of said negatively-doped
newly deposited metal will again cover substantially all of the                 region;
LED structure. In another embodiment, if the electrical pas-         15      an electrically conducting metallization layer in direct con-
sivation layer is optically reflecting and heat conducting the                  tact with at least a portion of each of a positively-doped
layer may be maintained and the metal passivation will cover                    surface and said negatively-doped surface of said semi-
substantially all the LED area but will make a direct connec-                   conductor LED, wherein said positively-doped surface
tion to the LED metal pads, and in other areas the connection                   is on an exposed portion of said positively-doped region
layers would be through the passivation layer, i.e. the layer        20         of said semiconductor LED and said negatively-doped
stack would be, LED, LED passivation layer, packaging pas-                      surface and said positively-doped surface are parallel
sivation layer which provides low thermal resistance and light                  with each other;
reflection, packaging metal for heat conduction.                             a sapphire layer in direct contact with a first surface of said
   FIG. 11 illustrates yet another embodiment of a LED                          semiconductor LED, said positively-doped surface and
device 1101. Here, a metal seed layer 1177 is applied to the         25         said first surface of said semiconductor LED being par-
passivation layer 1170. The metal seed layer 1177 may be                        allel with one another and on opposing faces of said
composed of any of titanium, chrome, nickel, palladium,                         semiconductor LED;
platinum, copper or combinations of these. In a preferred                    an optically permissive layer in direct contact with said
embodiment, if the metal layer serves to reflect light from the                 sapphire layer, said optically permissive layer compris-
LED towards the Sapphire, then the first metal seed layer            30         ing an optically definable material containing quantum
should be a suitable light reflecting material such as Al, or Ag.               dots and/or phosphor, said optically definable material
The seed layer can be thickened using sputtering over the                       adapted to change the frequency of at least some of
initial seed layer. In one embodiment the seed layer is pat-                    emitted light passing therethrough;
terned using electrophoretic deposited photo resist, spray                   an optically permissive cover substrate covering at least a
coating resist, or thick resist, in one embodiment greater than      35         portion of the above components; and
50 microns. The resist is patterned to create the electrical                 a passivation layer in direct contact with said metallization
routing connections and under bump metallization (UBM).                         layer, said sapphire layer, a surface of said optically
After patterning the resist, a thick metal layer, in one preferred              permissive layer, and said semiconductor LED,
embodiment between 10 and 40 microns is plated in the                        wherein said passivation layer defines a first contact hole to
defined patterns. The resist is removed and the bare seed layer      40         expose a first portion of an upper metal surface of said
is etched, in one non-limiting embodiment by using a wet                        metallization layer disposed on said negatively-doped
metal etch. In one embodiment a solder mask is applied to                       surface and said passivation layer is in direct contact
form such a layer. In operation, the layer 1177 provides                        with a second portion of said upper metal surface of said
enhanced electrical conductivity between external electrical                    metallization layer disposed on said negatively-doped
components and the metallization layer or conducting pads of         45         surface,
the device. This layer 1177 also provides maximum enhanced                   wherein said passivation layer defines a second contact
heat removal from LED layer 1100.                                               hole to expose a first portion of a lower metal surface of
   FIG. 12 illustrates how more than one LED device like                        said metallization layer disposed on said positively-
those described above can be manufactured on a single manu-                     doped surface and said passivation layer is in direct
facturing platform or wafer. Here, two LED units 1201 and            50         contact with a second portion of said lower metal surface
1202 are electrically connected in the metallization step of                    of said metallization layer disposed on said positively-
manufacturing the units. The LEDs can be connected in par-                      doped surface, and
allel, serial or combinations of such connections. These can                 wherein said upper metal surface, said lower metal surface,
be cut apart or in other embodiments can be left arranged on                    said negatively-doped surface, said positively-doped
the substrate without cutting so as to form a multi LED unit or      55         surface, and said surface of said optically permissive
light source. In addition to LED devices, this approach can                     layer are parallel with one another.
support placement and electrical connection of differing                     2. The light emitting device of claim 1, further comprising
LEDs, or other electronic components including integrated                 a lens covering at least a portion of said optically permissive
circuit LED driver, capacitors, diodes, anti static discharge             cover substrate.
diodes, temperature sensors, color sensors, image sensors,           60      3. The light emitting device of claim 1, wherein said pas-
fuses and other similar elements.                                         sivation layer is substantially electrically non-conductive.
   The present invention should not be considered limited to                 4. The light emitting device of claim 3, said passivation
the particular embodiments described above, but rather                    layer further comprising a shaped edge on a lateral portion of
should be understood to cover all aspects of the invention as             said passivation layer at least between said positively-doped
fairly set out in the present claims. Various modifications,         65   surface and said first surface, said shaped edge configured to
equivalent processes, as well as numerous structures to which             reflect light generated by said light emitting device outwardly
the present invention may be applicable, will be readily                  therefrom.
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  5. The light emitting device of claim 1, further comprising               cally definable material containing quantum dots and/or
an optically permissive adhesive layer coupling said optically              phosphor, said optically definable material adapted to
permissive layer and said sapphire layer.                                   change the frequency of at least some of emitted light
   6. The light emitting device of claim 1, further comprising              passing therethrough;
a mechanical offsetting member providing a dimensional 5                 depositing a passivation layer in direct contact with said
spacing between said optically permissive layer and said opti-              metallization layer, said sapphire layer, a surface of said
cally permissive cover substrate.                                           optically permissive layer, and said LED;
   7. The light emitting device of claim 1, further comprising           defining a first contact hole in said passivation layer to
at least one aligmnent mark indicative of a required position               expose a first portion of an upper metal surface of said
of said device with respect to said optically permissive cover 10           metallization layer disposed on said negatively-doped
substrate.                                                                  surface wherein said passivation layer is in direct contact
   8. The light emitting device of claim 1 further comprising               with a second portion of said upper metal surface of said
a 1?etal seed layer in direct contact with said passivation layer,          metallization layer disposed on said negatively-doped
said upper metal surface of said metallization layer, and said              surface;
lower metal surface of said metallization layer.                   15    defining   a second contact hole in said passivation layer to
   9. The light emitting device of claim 8 wherein said metal               expose a first portion of a lower metal surface of said
seed layer is patterned.                                                    metallization layer disposed on said positively-doped
   10. The light emitting device of claim 8 further comprising              surface wherein said passivation layer is in direct contact
a metal layer on said metal seed layer, said metal layer having             with  a second portion of said lower metal surface of said
a thickness of between about 10 microns and about 40 20                     metallization layer disposed on said positively-doped
microns.                                                                    surface, and
   11. The light emitting device of claim 8 wherein the metal            wherein said upper metal surface, said lower metal surface,
seed layer is comprised of a light reflecting material.                     said negatively-doped surface, said positively-doped
   12. A method for making a light emitting device, the                     surface, and said surface of said optically permissive
method comprising:                                                 25       layer  are parallel with one another.
   forming a light emitting device (LED) comprised of a                  13. The method of claim 12, further comprising depositing
      positively-doped layer, an intrinsic layer, and a nega-         a metal seed layer on said passivation layer, said upper metal
      tively-doped layer, wherein said intrinsic layer is             surface of said metallization layer, and lower second metal
      between said positively-doped layer and a first surface of      surface of said metallization layer.
      sai_dLED is in direct contact with a sapphire layer;         30    14. The method of claim 13 wherein said metal seed layer
   formmg a recess in said positively-doped layer and said            is comprised    of a light reflecting material.
      intrinsic layer of said LED so as to expose a negatively-          15. The method of claim 13, further depositing a metal
      doped surface of said negatively-doped layer;                   la~er on said metal seed layer, said metal layer having a
   depositing a metallization layer on a positively-doped sur-        thickness of between about 10 microns and about 40 microns.
      face of said positively-doped layer and said negatively- 35        16. The method of claim 12, further comprising depositing
      doped surface of said negatively-doped layer to provide         an optically permissive cover substrate covering said opti-
      electrical contact with said positively-doped layer and         cally permissive layer, said sapphire layer, and said LED.
      said negatively-doped layer of said LED, said posi-                17. The method of claim 16, further comprising placing
      tively-doped surface and said first surface on opposing         one  or more alignment marks on said LED so as to permit
      faces of said LED;                                           40 prop~r ~ositioning of said LED with respect to an optically

   depositing an optically permissive layer on said sapphire          perm1ss1vecover substrate.
      layer, said optically permissive layer comprising an opti-                                * * * * *
